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        6                           IN THE UNITED STATES DISTRICT COURT
        7                               FOR THE DISTRICT OF ARIZONA
        8
        9   Anant Kumar Tripati,                           No. CV 18-00066-TUC-RM
       10                           Plaintiff,
       11   vs.                                            ORDER
       12
            Corizon Inc., et al.,
       13
                                    Defendants.
       14
       15          Plaintiff Anant Kumar Tripati, who is confined in the Arizona State Prison
       16   Complex, East Unit, in Florence, Arizona, filed a pro se civil rights Complaint under 42
       17   U.S.C. § 19831 and an incomplete Application to Proceed In Forma Pauperis.2 (Doc.
       18
                   1
       19            On May 29, 2015, the Court issued an Order in Tripati v. Corizon, No. CV 13-
            0615-TUC-DCB, finding that Plaintiff did not require an accommodation in the form of a
       20   voice-activated typewriter to prosecute legal actions in court, Plaintiff lacked any
            physical basis for asserting blindness or inability to write legibly due to vision-related
       21   problems, and substantial evidence established that Plaintiff had the ability to write
            legibly and prosecute his legal actions in court without the need for extraordinary
       22   accommodation. The Court ordered that reference to that order be included in future
            orders addressing new cases filed by Plaintiff.
       23          2
                       Rather than submitting a certified six-month inmate trust account statement,
       24   Plaintiff submitted a one-page Inmate Bank Account sheet, which reflects that he has no
            spendable balance in his inmate trust account. The Court will grant the Application, but
       25   notes that in a June 6, 2013 Inmate Letter Response, Defendant Julia Erwin incorrectly
            told Plaintiff that he could not proceed in forma pauperis and that he would not be
       26   considered indigent, unless he could show that his life was in danger, because he had
            accumulated three strikes under 28 U.S.C. § 1915(g). (Doc. 1 at 24). She further stated
       27   that the Arizona Department of Corrections would not provide Plaintiff an additional
            certified copy free of charge unless he paid in advance as stated in a letter from Director
       28   Ryan. The determination whether Plaintiff has alleged an imminent danger of serious
            physical injury, which is the actual standard, is for the Court to make, not corrections
            officials. Prison officials should provide copies of six-month inmate account statements

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            1   1, 3.) Plaintiff also filed a motion for injunctive relief (Doc. 2), and four notices (Docs.
            2   6, 7, 8, and 9).3
            3          Although Plaintiff has at least “three strikes” under 28 U.S.C. § 1915(g),4 the
            4   Court concludes that he alleges an imminent danger of serious physical injury based on
            5   his claim that since his transfer to the East Unit, effective treatment of his high blood
            6   pressure and pain has been discontinued, although both had been effectively managed
            7   while he was held at the Tucson Complex. While Plaintiff has sufficiently alleged an
            8   imminent danger of serious physical harm such that he will be allowed to proceed in
            9   forma pauperis despite having three strikes, Plaintiff has not alleged facts to connect the
        10      discontinuation of previously effective treatment to specific Defendants. Therefore, the
        11      Court will dismiss this portion of Count I for failure to state a claim. The Court will also
        12      dismiss Counts III (in part), VII and VIII for failure to state a claim. The Court will
        13      require Defendants Osler, Schletter, Moreno, and Ramos to respond to Count III (in part)
        14      of the Complaint.      The balance of Plaintiff’s allegations in the Complaint will be
        15      dismissed as duplicative of claims raised in one or more of his previous cases and absent
        16      facts to support any intervening change in circumstances.
        17
        18      regardless whether a prisoner has accrued three strikes or they believe that he has alleged
        19      an imminent risk of serious physical injury.
                       3
        20               Plaintiff’s first three notices will be disregarded. In the first notice, Plaintiff
                alleges that the Arizona Department of Corrections is failing to provide adequate
        21      healthcare via its private contractor, Corizon. The second notice lists documents
                authored by Plaintiff available electronically. The third is a table of cases filed by other
        22      inmates and in which Plaintiff claims various attorneys concealed, fabricated, or
                otherwise violated ethical or legal duties. The fourth notice is discussed in connection
        23      with Count VII.
                       4
        24                At least three of Plaintiff’s prior prisoner actions have been dismissed on the
                grounds that they were frivolous, malicious, or failed to state a claim upon which relief
        25      may be granted. See Tripati v. Schriro, No. CV 97-0021-PHX-ROS (D. Ariz. May 22,
                1997) (dismissed for failure to state a claim); Tripati v. Felix, No. CV 05-0762-PHX-
        26      DGC (D. Ariz. Oct. 14, 2005) (same); and Tripati v. Thompson, No. CV 03-1122-PHX-
                DGC (D. Ariz. Dec. 28, 2005) (same); see also Tripati v. Schriro, 541 U.S. 1039 (2004)
        27      (“As petitioner has repeatedly abused this Court’s process, the Clerk is directed not to
                accept any further petitions in noncriminal matters from petitioner unless the docketing
        28      fee required by Rule 38(a) is paid and petition submitted in compliance with Rule 33.1.”).
                In addition, Plaintiff is still subject to a 1993 pre-filing order in the Ninth Circuit Court of
                Appeals.

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            1   I.     Application to Proceed In Forma Pauperis and Filing Fee
            2          The Court will grant Plaintiff’s Application to Proceed In Forma Pauperis. 28
            3   U.S.C. § 1915(a). Plaintiff must pay the statutory filing fee of $350.00. 28 U.S.C.
            4   § 1915(b)(1). The Court will not assess an initial partial filing fee. Id. The statutory
            5   filing fee will be collected monthly in payments of 20% of the previous month’s income
            6   credited to Plaintiff’s trust account each time the amount in the account exceeds $10.00.
            7   28 U.S.C. § 1915(b)(2). The Court will enter a separate Order requiring the appropriate
            8   government agency to collect and forward the fees according to the statutory formula.
            9   II.    Statutory Screening of Prisoner Complaints
        10             The Court is required to screen complaints brought by prisoners seeking relief
        11      against a governmental entity or an officer or an employee of a governmental entity. 28
        12      U.S.C. § 1915A(a). The Court must dismiss a complaint or portion thereof if a plaintiff
        13      has raised claims that are legally frivolous or malicious, that fail to state a claim upon
        14      which relief may be granted, or that seek monetary relief from a defendant who is
        15      immune from such relief. 28 U.S.C. § 1915A(b)(1)–(2).
        16             A pleading must contain a “short and plain statement of the claim showing that the
        17      pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2) (emphasis added). While Rule 8
        18      does not demand detailed factual allegations, “it demands more than an unadorned, the-
        19      defendant-unlawfully-harmed-me accusation.”         Ashcroft v. Iqbal, 556 U.S. 662, 678
        20      (2009). “Threadbare recitals of the elements of a cause of action, supported by mere
        21      conclusory statements, do not suffice.” Id.
        22             “[A] complaint must contain sufficient factual matter, accepted as true, to ‘state a
        23      claim to relief that is plausible on its face.’” Id. (quoting Bell Atlantic Corp. v. Twombly,
        24      550 U.S. 544, 570 (2007)). A claim is plausible “when the plaintiff pleads factual
        25      content that allows the court to draw the reasonable inference that the defendant is liable
        26      for the misconduct alleged.” Id. “Determining whether a complaint states a plausible
        27      claim for relief [is] . . . a context-specific task that requires the reviewing court to draw
        28      on its judicial experience and common sense.” Id. at 679. Thus, although a plaintiff’s



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            1   specific factual allegations may be consistent with a constitutional claim, a court must
            2   assess whether there are other “more likely explanations” for a defendant’s conduct. Id.
            3   at 681.
            4             But as the United States Court of Appeals for the Ninth Circuit has instructed,
            5   courts must “continue to construe pro se filings liberally.” Hebbe v. Pliler, 627 F.3d 338,
            6   342 (9th Cir. 2010). A “complaint [filed by a pro se prisoner] ‘must be held to less
            7   stringent standards than formal pleadings drafted by lawyers.’” Id. (quoting Erickson v.
            8   Pardus, 551 U.S. 89, 94 (2007) (per curiam)).
            9   III.      Complaint
        10                Plaintiff alleges that the Court has diversity and federal question subject matter
        11      jurisdiction. With respect to diversity subject matter jurisdiction, Plaintiff alleges that he
        12      is a British citizen and that all of the Defendants are citizens of Arizona, Tennessee, or
        13      Pennsylvania. Plaintiff alleges an amount in controversy in excess of $250,000.
        14                In his eleven count Complaint, Plaintiff alleges claims for denial of
        15      constitutionally adequate medical care, violation of the Religious Land Use and
        16      Incarcerated Persons Act (RLUIPA), violation of legal mail rights, denial of access to the
        17      court, violation of equal protection, fraud upon the court, denial of access to records,
        18      cruel and unusual punishment in violation of the Eighth Amendment, takings in violation
        19      of the Fifth Amendment, and violations of state and federal Racketeer Influenced and
        20      Corrupt Organizations (RICO) Acts. Plaintiff seeks injunctive and other unspecified
        21      relief.
        22                Plaintiff sues 56 Defendants, including Corizon Inc. (“Corizon”), a private
        23      corporation that has contracted with the Arizona Department of Corrections (ADC) to
        24      provide health care for ADC prisoners. Plaintiff also sues the following persons who are
        25      alleged to be Corizon policymakers: Dr. Calvin Johnson, B. Anderson Flatt, Tracy Nolan,
        26      Harold Orr, Jonathan Walker; and Scott Bowers. Further, Plaintiff sues Beecken, Petty,
        27      O’Keefe & Company (BPOC), a Chicago-based private equity management firm
        28      “founded in 1996 to invest in middle-market buy-out transactions, recapitalizations, and



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            1   growth platforms exclusively in the healthcare industry,”5 as a Corizon financier.
            2          In addition, Plaintiff sues the following current or former Corizon employees who
            3   are or were employed at ADC complexes: Regional Director Winfred Williams; Tucson
            4   Complex Medical Providers Christina Armenta, Dr. Lucy Burciaga; and Registered
            5   Nurses (RNs) Marlene Bedoya and Angela Martinez.                 Plaintiff also sues Tucson
            6   Complex Facility Health Administrator (FHA) Tamara Porter and grievance officer Lucy
            7   Lyons. Plaintiff sues Medical Providers at the Florence Complex as well, naming Dr.
            8   Glen Babich, Dr. Chris Johnson, and Joannah Grafton Burns as Defendants. Plaintiff
            9   also sues Corizon attorneys: Joseph Scott Conlon, Charles Stedman Hover III, Timothy
        10      Regis Grimm II,6 Kristin Whitney Basha, and the law firm of Renaud, Cook, Drury, &
        11      Mesaros P.A.7
        12             Plaintiff also sues Wexford Health Sources, Inc. (“Wexford”), which previously
        13      contracted with ADC to provide health care to ADC prisoners. In addition, he sues the
        14      following current or former attorneys and law firms that represent or have represented
        15      Wexford in previous cases filed by Plaintiff: Jonah Rappazzo, Brandi Blair, Edward
        16      Hochuli, Matthew R. Zwick, Samuel H. Foreman, and the law firms of Weber, Gallagher,
        17      Simpson, Stapleton, Fire & Newby, L.L.P., and Jones, Skelton, & Hochuli.8
        18             In addition, Plaintiff sues various current or former ADC employees as follows:
        19
        20             5
                           See http://bpoc.com (last visited Feb. 14, 2017).
        21             6
                          Plaintiff mistakenly spelled the last name as “Gimm” rather than “Grimm.”
        22      (Doc. 1 at 2.)
                       7
        23                Hover, Conlon, Grimm, and Basha of Renaud Cook, represented Corizon and
                some of its employees in Tripati v. Corizon, No. 13-00615-TUC-DCB. The Ninth
        24      Circuit recently reversed and remanded dismissal of this case holding it was improper to
                dismiss the case as a sanction for Plaintiff’s misrepresentations about his vision where
        25      those misrepresentations lacked a nexus to his underlying claims, see n. 2, supra. Tripati,
                CV 13-00615, Doc. 261.
        26             8
                          Zwick and Foreman of Weber Gallagher and Blair, Hochuli, and Rappazzo of
        27      Jones Skelton, represented Wexford in Tripati v. Hale, No. CV 15-00140-TUC-DCB,
                which Plaintiff filed in the Western District of Pennsylvania. Tripati, CV 15-00140, Doc.
        28      43. The Pennsylvania court transferred the case to Arizona as the proper venue. Id. The
                Court dismissed Plaintiff’s state RICO claim against Wexford for failure to state a claim.
                Id., Doc. 56.

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            1   Director Charles Ryan; Florence Warden Kevin Curren; Legal Services employee
            2   Courtney Glynn; legal monitors Julia Erwin and Daryl Johnson; Grievance Officers Juliet
            3   Respicio-Moriarty, Heather Richardson, and Cheryl Dossett; Medical Directors Dr.
            4   David Robertson and Richard Pratt; Classification Officer Stacy Crabtree; Florence
            5   Complex Deputy Warden (DW) Anne Marie Smith-Whitson; Tucson Complex DWs
            6   Glen Pacheco, Panaan Days, and Anna Jacobs; and Corrections Officer (CO) IV Debra
            7   Han. Further, Plaintiff sues Florence Complex Mailroom Officers George Osler, Daniel
            8   Moreno, Jose Ramos, and Glenn Schletter.
            9         Plaintiff also sues the current Arizona Attorney General Mark Brnovich, and
        10      current or former Assistant Arizona Attorneys General Susan Rogers, Karyn Klausner,9
        11      Kelley Joan Morrissey, and Paul Edward Carter.
        12            Plaintiff describes Defendants Calvin Johnson, Flatt, Nolan, Orr, Walker, Bowers,
        13      Corizon, Wexford, Ryan, Erwin, Glynn, Rogers, Klausner, Daryl Johnson, Carter,
        14      Morrissey, Brnovich, Curran, and Smith-Whitson as policymakers for Corizon, ADC, or
        15      the Arizona Attorney General’s Office.
        16      IV.   Duplicative Allegations Must Be Dismissed
        17            An in forma pauperis complaint that merely repeats pending or previously litigated
        18      claims may be considered abusive and dismissed under 28 U.S.C. § 1915(e). Cato v.
        19      United States, 70 F.3d 1103, 1105 n.2 (9th Cir. 1995); see also McWilliams v. State of
        20      Colorado, 121 F.3d 573, 574 (11th Cir. 1997) (repetitious action may be dismissed as
        21      frivolous or malicious); Aziz v. Burrows, 976 F.2d 1158 (9th Cir. 1992) (“district courts
        22
                      9
        23                According to information available online from the State Bar of Arizona, Ms.
                Rogers and Ms. Klausner no longer practice in this state. Plaintiff has previously named
        24      Ms. Rogers, Ms. Klausner, Ms. Morrissey, and Mr. Carter as defendants in multiple cases
        25      filed in this Court. See Tripati v. Brewer, CV10-00429-TUC-AWT (Rogers, Klausner,
                Morrissey, Carter), Tripati v. Johnson, CV11-00195-TUC-AWT (Rogers, Klausner),
        26      Tripati v. Frame, CV14-00026-TUC-DCB (Rogers, Klausner); Tripati v. Carter, CV14-
        27      02077-TUC-DCB (Rogers, Carter); Tripati v. Johnson, CV 11-00195-TUC-AWT
                (Carter); Tripati v. Corizon, CV 16-00282-TUC-DCB (Klausner, Rogers, Morrissey,
        28      Carter). Those cases are closed.


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            1   may dismiss a duplicative complaint raising issues directly related to issues in another
            2   pending action brought by the same party”); Bailey v. Johnson, 846 F.2d 1019, 1021 (5th
            3   Cir. 1988) (repetitious litigation of virtually identical causes of action is subject to
            4   dismissal as malicious).
            5          A significant portion of Plaintiff’s allegations in the current Complaint duplicate
            6   claims and allegations asserted in one or more of Plaintiff’s previous cases, in particular,
            7   Tripati v. Corizon, CV 16-00282-TUC-DCB, and Tripati v. Johnson, CV 11-00195-
            8   TUC-AWT. For that reason, Counts I (in part), II, IV, V, VI, and IX will be dismissed as
            9   duplicative without leave to amend.10 Further, Counts X and XI will also be dismissed
        10      without leave to amend11 because they are predicated on duplicative allegations, i.e., the
        11
                       10
        12                 In Counts I (in part) and II, Plaintiff alleges that he has been denied a vegetarian
                allergy diet to accommodate his claimed food allergies and his Hindu religion. In Count
        13      IV, he alleges denial of access to the court. In Count V, he alleges a denial of equal
        14      protection. In Count VI, he alleges wide-ranging fraud on the court in connection with
                several of his previously filed cases. In Count IX, he alleges a takings claim based on the
        15      loss of property that he raised repeatedly in previous cases.
                        11
        16                  In these counts, Plaintiff asserts state and federal RICO claims based upon the
                use of confidential settlement agreements in prisoner litigation. The use of confidential,
        17      as opposed to public, settlement agreements to settle litigation does not violate state or
                federal law and there are strong public policy and judicial reasons that support keeping
        18
                settlement agreements confidential. See Phillips ex rel. Estates of Byrd v. Gen. Motors
        19      Corp., 307 F.3d 1206, 1212 (9th Cir. 2002); Advanced Cardiovascular Sys., Inc. v.
                Medtronic, Inc., 265 F.3d 1294, 1308 (Fed. Cir. 2001); United States v. Glens Falls
        20      Newspapers, Inc., 160 F.3d 853, 855-56 (2d Cir. 1998); FireClean LLC v. Tuohy, No.
        21      CV16-00604-TUC-JAS, 2018 WL 1811712, at *11 (D. Ariz. Apr. 17, 2018); Abbott
                Diabetes Care Inc. v. Roche Diagnostics Corp., No. C05-03117, 2007 WL 4166030, at
        22      *4 (N.D. Cal. Nov. 19, 2007); see also Grubaugh v. Blomo ex rel. County of Maricopa,
        23      359 P.3d 1008, 1012 (Ariz. Ct. App. 2015) (noting that confidentiality requirements
                supported Arizona’s strong public policy of encouraging settlement rather than
        24      litigation); Miller v. Kelly, 130 P.3d 982, 984-986 (Ariz. Ct. App. 2006); Southern Pac.
        25      Transp. Co. v. Veliz, 571 P.2d 696, 697-98 (Ariz. Ct. App. 1977). Further, where a
                requesting party makes a sufficient showing of relevance and need, disclosure of such
        26      agreements may be compelled. See e.g., Phillips ex rel. Estates of Byrd, 307 F.3d at
        27      1212; Kalinauskas v. Wong, 151 F.R.D. 363, 365 (D. Nev. 1993) (“Confidential
                settlements benefit society and the parties involved by resolving disputes relatively
        28      quickly, with slight judicial intervention, and presumably result in greater satisfaction to
                the parties. Sound judicial policy fosters and protects this form of alternative dispute

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            1   falsification and/or concealment of information or evidence allegedly relevant to
            2   Plaintiff’s claims in prior cases, which Plaintiff raised in CV 16-00282.
            3          The balance of Plaintiff’s allegations in the Complaint assert violations based on
            4   new or altered circumstances that are not duplicative—specifically, Plaintiff’s allegations
            5   in Count I that effective treatment of his high blood pressure, and perhaps other serious
            6   medical conditions, was discontinued when he was transferred to the East Unit of the
            7   Florence Complex from the Tucson Complex. Plaintiff also alleges in Count I that he
            8   was recently diagnosed with a serious lung issue and indicates that he has been denied
            9   prescribed treatment for that condition. In Count III, Plaintiff alleges that Defendants
        10      Osler, Schletter, Moreno, and Ramos have violated his First Amendment rights
        11      concerning legal mail. In Count VII, Plaintiff alleges that he has been denied access to
        12      records in violation of state law. In Count VIII, Plaintiff asserts that he is entitled to
        13      release pursuant to Brown v. Plata, 131 S.Ct. 1919, 1940 (2011), based on constitutional
        14      violations asserted elsewhere in the Complaint, including some allegations that are not
        15      being dismissed as duplicative. The Court will screen these allegations below.
        16      V.     Failure to State a Claim Under § 1983
        17             In Counts I (in part), III, and VIII, Plaintiff asserts violation of his constitutional
        18      rights. To prevail in a § 1983 claim, a plaintiff must show that (1) acts by the defendants
        19      (2) under color of state law (3) deprived him of federal rights, privileges or immunities
        20      and (4) caused him damage. Thornton v. City of St. Helens, 425 F.3d 1158, 1163-64 (9th
        21      Cir. 2005) (quoting Shoshone-Bannock Tribes v. Idaho Fish & Game Comm’n, 42 F.3d
        22      1278, 1284 (9th Cir. 1994)). In addition, a plaintiff must allege that he suffered a specific
        23
        24      resolution.”); Hannah v. General Motors Corp., 969 F. Supp. 554, 558 (D. Ariz. 1996)
        25      (quashing subpoena where plaintiffs failed to articulate a legitimate reason for
                production); see also Abbott Diabetes Care, 2007 WL 4166030, at *4 (redacting portions
        26      of settlement agreement not relevant to claims). Thus, the use of confidential settlement
        27      agreements in litigation is neither disfavored nor illegal, and the production of such
                agreements upon a showing of need alleviates any policy concerns regarding public
        28      access. Accordingly, in addition to being duplicative, Plaintiff’s RICO claims are
                patently meritless.

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            1   injury as a result of the conduct of a particular defendant and he must allege an
            2   affirmative link between the injury and the conduct of that defendant. Rizzo v. Goode,
            3   423 U.S. 362, 371-72, 377 (1976).
            4          Further, to state a claim against a defendant, “[a] plaintiff must allege facts, not
            5   simply conclusions [to] show that an individual was personally involved in the
            6   deprivation of his civil rights.” Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir.
            7   1998). For an individual to be liable in his or her official capacity, a plaintiff must allege
            8   injuries resulting from a policy, practice, or custom of the agency over which that
            9   individual has final policy-making authority. See Cortez v. County of Los Angeles, 294
        10      F.3d 1186, 1188 (9th Cir. 2002). Further, there is no respondeat superior liability under
        11      § 1983, so a defendant’s position as the supervisor of someone who allegedly violated a
        12      plaintiff’s constitutional rights, absent more, does not make him liable. Monell v. Dep’t
        13      of Soc. Servs., 436 U.S. 658, 691 (1978); Taylor v. List, 880 F.2d 1040, 1045 (9th Cir.
        14      1989). A supervisor in his personal capacity “is only liable for constitutional violations
        15      of his subordinates if the supervisor participated in or directed the violations, or knew of
        16      the violations and failed to act to prevent them.” Taylor, 880 F.2d at 1045. Further,
        17      under Ninth Circuit law, a defendant can be liable for failure to act. Id. Generally,
        18      whether a defendant’s denial of administrative grievances is sufficient to state a claim
        19      depends on several facts, including whether the alleged constitutional violation was
        20      ongoing, see e.g., Flanory v. Bonn, 604 F.3d 249, 256 (6th Cir. 2010), and whether the
        21      defendant who responded to the grievance had authority to take action to remedy the
        22      alleged violation, see Bonner v. Outlaw, 552 F.3d 673, 679 (8th Cir. 2009).
        23             A.     Count I (in part)
        24             In the non-duplicative portions of Count I, Plaintiff alleges the denial of
        25      constitutionally adequate medical care for his high blood pressure, pain, and recently
        26      diagnosed serious lung condition. Not every claim by a prisoner relating to inadequate
        27      medical treatment states a violation of the Eighth Amendment. To state a § 1983 medical
        28      claim, a plaintiff must show (1) a “serious medical need” by demonstrating that failure to



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            1   treat the condition could result in further significant injury or the unnecessary and wanton
            2   infliction of pain and (2) the defendant’s response was deliberately indifferent. Jett v.
            3   Penner, 439 F.3d 1091, 1096 (9th Cir. 2006).
            4          “Deliberate indifference is a high legal standard.” Toguchi v. Chung, 391 F.3d
            5   1051, 1060 (9th Cir. 2004). To act with deliberate indifference, a prison official must
            6   both know of and disregard an excessive risk to inmate health; “the official must both be
            7   aware of facts from which the inference could be drawn that a substantial risk of serious
            8   harm exists, and he must also draw the inference.” Farmer v. Brennan, 511 U.S. 825,
            9   837 (1994).    Deliberate indifference in the medical context may be shown by a
        10      purposeful act or failure to respond to a prisoner’s pain or possible medical need and
        11      harm caused by the indifference. Jett, 439 F.3d at 1096. Deliberate indifference may
        12      also be shown when a prison official intentionally denies, delays, or interferes with
        13      medical treatment or by the way prison doctors respond to the prisoner’s medical needs.
        14      Estelle v. Gamble, 429 U.S. 97, 104-05 (1976); Jett, 439 F.3d at 1096.
        15             Deliberate indifference is a higher standard than negligence or lack of ordinary
        16      due care for the prisoner’s safety. Farmer, 511 U.S. at 835. “Neither negligence nor
        17      gross negligence will constitute deliberate indifference.” Clement v. California Dep’t of
        18      Corr., 220 F. Supp. 2d 1098, 1105 (N.D. Cal. 2002); see also Broughton v. Cutter Labs.,
        19      622 F.2d 458, 460 (9th Cir. 1980) (mere claims of “indifference,” “negligence,” or
        20      “medical malpractice” do not support a claim under § 1983). “A difference of opinion
        21      does not amount to deliberate indifference to [a plaintiff’s] serious medical needs.”
        22      Sanchez v. Vild, 891 F.2d 240, 242 (9th Cir. 1989). A mere delay in medical care,
        23      without more, is insufficient to state a claim against prison officials for deliberate
        24      indifference. See Shapley v. Nevada Bd. of State Prison Comm’rs, 766 F.2d 404, 407
        25      (9th Cir. 1985). The indifference must be substantial. The action must rise to a level of
        26      “unnecessary and wanton infliction of pain.” Estelle, 429 U.S. at 105.
        27             Plaintiff alleges that until his transfer from the Tucson Complex, his serious
        28      medical conditions, including high blood pressure and pain, were effectively treated, but



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            1   that effective treatment of these conditions, and of an intervening, but unidentified
            2   “serious lung issue,” hasnot been provided at the East Unit. Plaintiff sufficiently alleges
            3   that his high blood pressure is a serious medical need and that despite daily monitoring
            4   and medications for his blood pressure, it is not being effectively managed, as it had been
            5   while he was at the Tucson Complex. However, he fails to specifically allege what care
            6   or medications he received at the Tucson Complex that he is not receiving in the East
            7   Unit and when, how, and by whom effective treatment was discontinued. Similarly,
            8   although Plaintiff alleges that his “unbearable” pain was effectively managed at the
            9   Tucson Complex, and has not been effectively managed at the East Unit, he fails to
        10      specifically allege the care or medications he received at the Tucson Complex that has or
        11      have been discontinued in the East Unit and when, how, and by whom such treatment
        12      was discontinued. Finally, Plaintiff alleges that he was recently diagnosed with serious
        13      lung issues, but he does not allege what he has been diagnosed with, any treatment
        14      prescribed for the condition, and when, how, or by whom he has been denied prescribed
        15      care. As to all three conditions, Plaintiff fails to allege facts to support that prescribed
        16      treatment was not provided at the East Unit despite a Defendant’s knowing, or having
        17      reason to know, that such denial of treatment posed a substantial risk of harm to Plaintiff.
        18      For these reasons, the Court will dismiss these portions of Count I without prejudice.
        19             B.     Count III (in part)
        20             In Count III, Plaintiff alleges that Defendants Osler, Schletter, Moreno, and
        21      Ramos have violated his legal mail rights and admitted in writing that they opened two
        22      pieces of incoming legal mail from Plaintiff’s attorney, Fred Romero. He also alleges
        23      that they confiscated three DVDs that contained research and evidence pertaining to
        24      Plaintiff’s claims in court or evidence against “defendants.”         (Id. ¶ 38.)    These
        25      Defendants will be required to respond to these portions of Count III.12
        26
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        27                 According to Plaintiff, these Defendants claimed to have opened the mail
                because it was not post-marked from California (presumably where Romero practices),
        28      and because they obtained “the lawyers permission.” (Doc. 1 at ¶ 37.) Plaintiff alleges
                that “[t]he lawyer” denied that he granted permission and claimed that he had been
                threatened by Defendants, but did not deny that he had sent the mail to Plaintiff. (Id.)

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            1          Plaintiff further alleges the following:      Erwin, Glynn, Dossett, and Curran
            2   prevented Plaintiff from communicating with counsel by “opening, seizing and
            3   publishing contents of [his] legal mail” concerning his claims in CV 16-00282, pending
            4   appeals, collateral challenges to his criminal convictions, pending petitions for review,
            5   and certiorari. Curran, Erwin, and Glynn advised Plaintiff that they will continue to open
            6   and read his legal mail that he receives from the United Kingdom and Australia. Finally,
            7   Plaintiff contends that “Defendants” have violated clearly established law and “had
            8   Brnovich put in place a policy that his employees not advise ADOC [not] to violate
            9   clearly established law, [and but for such policy] the misconduct would not be.” (Id. ¶
        10      41.) These allegations are too vague and conclusory to state a claim for relief. Although
        11      pro se pleadings are liberally construed, Haines v. Kerner, 404 U.S. 519, 520-21 (1972),
        12      conclusory and vague allegations will not support a cause of action. Ivey v. Bd. of
        13      Regents of the Univ. of Alaska, 673 F.2d 266, 268 (9th Cir. 1982). Further, a liberal
        14      interpretation of a civil rights complaint may not supply essential elements of the claim
        15      that were not initially pleaded. Id. Plaintiff fails to allege approximately when or how
        16      often incoming legal mail has been opened by any Defendant other than Osler, Schletter,
        17      Ramos, or Moreno, or whether such mail was clearly labeled as legal mail by the sender.
        18      Plaintiff also fails to allege facts to support how the alleged opening of other incoming
        19      legal mail impeded his ability to seek relief as to his conviction or sentence or prejudiced
        20      him in any civil litigation. Therefore, the Court will dismiss the portions of Count III
        21      asserted against Defendants other than Osler, Schletter, Ramos, and Moreno for failure to
        22      state a claim.
        23             C.        Count VIII
        24             Plaintiff designates Count VIII as an Eighth Amendment claim for cruel and
        25
        26      Plaintiff also alleges that these Defendants issued a disciplinary charge to him, apparently
        27      in relation to his use of the prison mail system, and ADC’s website reflects that Plaintiff
                was charged with conspiracy to commit a class B felony.                                 See
        28      https://corrections.az.gov/public-resources/inmate-datasearch (last visited May 24, 2018).
                However, this charge was later dismissed. (See Doc. 2 at 21, dismissing disciplinary
                because standard of proof not met).

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            1   unusual punishment, citing Brown v. Plata, 563 U.S. 493, 131 S.Ct. 1910, 1940 (2011),
            2   which Plaintiff claims “provides for courts to release prisoners for continuous cruel and
            3   unusual punishment.” (Doc. 1 ¶ 59.) Plaintiff states that he, with Justin Thrasher
            4   “discuss this extensively in Amazon Kindle Release From Custody for Continuous
            5   Infliction Of Cruel And Unusual Punishment In Prisons, ASIN # B078X3h748 were we
            6   discuss the infliction in ADOC.” (Id.) Plaintiff claims that the conduct alleged in his
            7   Complaint entitles him to release pursuant to Brown. He claims that “Defendants have
            8   continued to deny [him] treatment for [his] serious medical needs, refused to allow [him]
            9   to practice [his] religion, denied [him] access to courts, and singled [him] out.” (Id. ¶
        10      61.) He claims that “[t]hey have acted with deliberate indifference inflicting upon [him]
        11      undue and unnecessary pain and suffering.” (Id. ¶ 62.)
        12            Brown addressed a remedial order entered in a California prisoner class action that
        13      capped the number of prisoners in custody at 137.5% of capacity due to conceded
        14      systemic deficiencies in medical and mental health care caused by overcrowding. The
        15      Supreme Court upheld that order and found that it was not overbroad. The order at issue
        16      in Brown does not even arguably apply to Arizona prisons or prisoners and Plaintiff is not
        17      entitled to any relief pursuant to Brown. Otherwise, Plaintiff merely seeks release based
        18      on the asserted violations alleged elsewhere in his Complaint, most of which are being
        19      dismissed as duplicative and the remainder of which are being dismissed for failure to
        20      state a claim. For the reasons discussed, Count VIII will be dismissed for failure to state
        21      a claim.
        22      VI.    Failure to State a Claim under State Law
        23            Plaintiff designates Count VII as a claim for denial of access to records in
        24      violation of Arizona Revised Statute § 39-291 and claims that statute “allows this court to
        25      review this claim.” (Doc. 1 ¶ 51.) He alleges that Defendant Ryan has a duty to provide
        26      ADC prisoners with healthcare, education, food, safety, and security. He contends that if
        27      a private entity performs any of these functions such functions do not thereby become
        28      private. Plaintiff states that he asked Ryan for “contract monitoring reports, contract



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            1   compliance reports, policies, documents submitted with bids, grievances, CGAR Reports,
            2   CGAR CAPS, notices of substantial non-compliance, contract terminations, information
            3   reports, notice of claims, grants for programs for the nine months Wexford had the
            4   contract and for Corizon, Keefe, Trinity, Education for the period 1/1/16 to date.”13
            5   Plaintiff alleges that prisoners Kenneth Wayne Reed and Carlos Bernal were provided
            6   records without cost, but that he was informed on January 16, 2018 that he would not be
            7   allowed to view the records until he paid in advance. Plaintiff states that he was so
            8   informed by Defendant Glynn, among others not named as Defendants. Plaintiff asserts
            9   that he was singled out for different treatment. Plaintiff was also told that he would not
        10      be given records about himself and that he should ask Parsons’ counsel.14 Plaintiff
        11      contends that Parsons’ counsel does not have a duty to provide Plaintiff with the
        12      requested records, but that Ryan does have such a duty.
        13             Plaintiff appears to have supplemented the allegations in Count VII with a notice
        14      (Doc. 9) filed on May 21, 2018. This notice contains two attachments. (Doc. 9 at 2.)
        15      The first is an August 22, 2016 cover letter from Liza McCain, a Program Projects
        16      Specialist for the Public Access Unit of ADC addressed to a “Mr. DelFin” concerning a
        17      public records request submitted by Inmate Kenneth Reed. The cover letter stated that
        18      records responsive to a request from Reed were attached with redactions of personal
        19      identifying information and information that, if released, could endanger the life or safety
        20      of persons. McCain stated that “Inmate Reed was given permission to view the Corizon
        21      contracts on a CD from the Director,” but that Reed was not to print any of the
        22      information on the CD, although Reed was allowed to take notes on what he found. (Id.)
        23
        24             13
                           Plaintiff’s refers to Keefe and Trinity, apparently two private entities that have
        25      contracted with ADC to provide certain services to prisoners. Plaintiff has not named
                either as a defendant in this case. Plaintiff’s references to CGAR Reports and Caps refers
        26      to ongoing monitoring in Parsons v. Ryan, CV 12-00601-PHX-DKD (D. Ariz.), a
                prisoner class action concerning medical care provided to ADC inmates. On Oct. 14,
        27      2014, a Settlement Stipulation was entered in Parsons, which was approved on February
                25, 2015. Id. Doc. 1185. Ongoing proceedings concerning compliance with the terms of
        28      the Settlement Stipulation continue.
                       14
                            See n. 13, supra.

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            1   The second attachment to the notice is an Inmate Informal Complaint Response dated
            2   January 23, 2018 to Reed from Corrections Officer III Radford in which Radford
            3   reported that Central Office had agreed to allow Reed to view the Paralegal Services
            4   contract between the State of Arizona and Ms. Ulibarri, which was to be mailed on a CD
            5   to Radford’s attention to set up a viewing schedule. (Id. at 3.)
            6          Title 39 of the Arizona Revised Statutes is entitled “Public Records,” but it
            7   contains only sections 101 to 221; there is no § 291. Section 39-121.01(D)(1) provides
            8   that, subject to § 39-121.03,15 a custodian of records for a public body16 may require a
            9   person requesting copies of public records to pay in advance for copying and postage
        10      charges. Subsection (D)(2) provides that if requested, the custodian of records of an
        11      “agency” shall furnish an index of records or categories of records that have been
        12      withheld and the reasons for withholding them from the requesting person, but the
        13      custodian “shall not” include in the index information that is expressly made privileged
        14      or confidential by statute or court order. Ariz. Rev. Stat. § 39-121.01(D)(2). However,
        15      “agency” as used in subsection (D)(2) “does not include . . . the state department of
        16      corrections.” Id.
        17             Plaintiff does not allege that Ryan is the custodian of public records.          Nor,
        18      contrary to Plaintiff’s assertion, has Plaintiff identified any basis for his claim that Ryan
        19      has a duty to disclose ADC records to him. Further, Arizona law specifically allows a
        20      custodian of records to require payment in advance for costs. Accordingly, Plaintiff has
        21      failed to state a claim for a violation of state law in Count VII.
        22             To the extent that Plaintiff claims that he was treated differently than two other
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        24             15
                          Section 39-121.03 concerns requests for copies, printouts, or photographs for
        25      commercial purposes.
                      16
                           Defined as “this state, any county, city, town, school district, political
        26      subdivision or tax-supported district in this state, any branch, department, board, bureau,
        27      commission, council or committee of the foregoing, and any public organization or
                agency, supported in whole or in part by monies from this state or any political
        28      subdivision of this state, or expending monies provided by this state or any political
                subdivision of this state.” Ariz. Rev. Stats. § 39-121.01(A)(2).

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            1   prisoners, he does not allege that he sought the same records as those sought by Reed,
            2   and fails to describe what records were sought by Inmate Bernal. Thus, Plaintiff’s notice,
            3   in conjunction with his allegations, do not support a claim under the Equal Protection
            4   Clause, either. Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (plaintiff
            5   asserting “class of one” equal protection claim must “allege[] that [he] has been
            6   intentionally treated differently from others similarly situated and that there is no rational
            7   basis for the difference in treatment”); see also SeaRiver Maritime Financial Holdings,
            8   Inc. v. Mineta, 309 F.3d 662, 679 (9th Cir. 2002)..          Therefore, Count VII will be
            9   dismissed.
        10      VII.   Claims for Which an Answer Will be Required
        11             In Count III (in part), Plaintiff alleges that Defendants Osler, Schletter, Moreno,
        12      and Ramos admitted in writing that on July 20, 2017, they opened two pieces of
        13      incoming legal mail from Plaintiff’s attorney, Fred Romero. Plaintiff also claims that
        14      “[t]hey took privileged communications from these mail [sic] and published them on
        15      ADC computers.” (Doc. 1 ¶ 37.) And according to Plaintiff, Defendants Osler, Schletter,
        16      Moreno, and Ramos claimed to have opened the mail because it was not post-marked
        17      from California (presumably, the state where Romero practices) and because they had
        18      obtained “the lawyers permission.” (Id.) He also alleges that they confiscated three
        19      DVDs from him concerning legal matters. These Defendants will be required to respond
        20      to Count III (in part). See Hayes v. Idaho Corr Ctr., 849 F.3d 1204 (9th Cir. 2017)
        21      (allegation that legal mail opened outside prisoner’s presence on two occasions stated a
        22      claim).
        23      VIII. Plaintiff’s Motion for Injunctive Relief
        24             As noted above, Plaintiff has filed a motion for injunctive relief. A temporary
        25      restraining order is “an extraordinary remedy that may only be awarded upon a clear
        26      showing that the plaintiff is entitled to such relief.” Winter v. Natural Res. Def. Council,
        27      555 U.S. 7, 22 (2008). A preliminary injunction also is ‘an extraordinary and drastic
        28      remedy, one that should not be granted unless the movant, by a clear showing, carries the



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            1   burden of persuasion.’” Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (quoting
            2   Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam); see also Winter, 555 U.S.
            3   at 24 (citation omitted) (“[a] preliminary injunction is an extraordinary remedy never
            4   awarded as of right”. A plaintiff seeking a preliminary injunction must show that (1) he
            5   is likely to succeed on the merits, (2) he is likely to suffer irreparable harm without an
            6   injunction, (3) the balance of equities tips in his favor, and (4) an injunction is in the
            7   public interest. Winter, 555 U.S. at 20. “But if a plaintiff can only show that there are
            8   ‘serious questions going to the merits’—a lesser showing than likelihood of success on
            9   the merits—then a preliminary injunction may still issue if the ‘balance of hardships tips
        10      sharply in the plaintiff’s favor,’ and the other two Winter factors are satisfied.” Shell
        11      Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281, 1291 (9th Cir. 2013) (quoting Alliance
        12      for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011)). Under this serious
        13      questions variant of the Winter test, “[t]he elements . . . must be balanced, so that a
        14      stronger showing of one element may offset a weaker showing of another.” Lopez, 680
        15      F.3d at 1072.
        16             Regardless of which standard applies, the movant “has the burden of proof on each
        17      element of the test.” See Envtl. Council of Sacramento v. Slater, 184 F. Supp. 2d 1016,
        18      1027 (E.D. Cal. 2000). Further, there is a heightened burden where a plaintiff seeks a
        19      mandatory preliminary injunction, which should not be granted “unless the facts and law
        20      clearly favor the plaintiff.” Comm. of Cent. Am. Refugees v. INS, 795 F.2d 1434, 1441
        21      (9th Cir. 1986) (citation omitted).
        22             In his motion, Plaintiff initially asks the Court to order Defendant Erwin, or other
        23      appropriate ADC officials, to provide him with a six-month inmate trust account
        24      statement. The Court will deny this request as moot, as the Court is granting Plaintiff
        25      leave to proceed in forma pauperis based on his submissions.
        26             Plaintiff also seeks injunctive relief as to treatment for his high blood pressure. As
        27      discussed herein, Plaintiff fails to allege facts to support that any Defendant has acted
        28      with deliberate indifference to his blood pressure. Indeed, in his Complaint, Plaintiff



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            1   states that he is being provided several blood-pressure medications, albeit not, according
            2   to Plaintiff, the same medications he previously received.17) Plaintiff has not alleged or
            3   shown a likelihood of success on the merits of this claim or that there are serious
            4   questions going to the merits such that he is entitled to relief under the sliding-scale test.
            5   Accordingly, the Court will deny Plaintiff’s motion without prejudice.
            6   IX.    Warnings
            7          A.     Release
            8          If Plaintiff is released while this case remains pending, and the filing fee has not
            9   been paid in full, Plaintiff must, within 30 days of his release, either (1) notify the Court
        10      that he intends to pay the unpaid balance of his filing fee within 120 days of his release or
        11      (2) file a non-prisoner application to proceed in forma pauperis. Failure to comply may
        12      result in dismissal of this action.
        13             B.     Address Changes
        14             Plaintiff must file and serve a notice of a change of address in accordance with
        15      Rule 83.3(d) of the Local Rules of Civil Procedure. Plaintiff must not include a motion
        16      for other relief with a notice of change of address. Failure to comply may result in
        17      dismissal of this action.
        18             C.     Copies
        19             Plaintiff must serve Defendants, or counsel if an appearance has been entered, a
        20      copy of every document that he files. Fed. R. Civ. P. 5(a). Each filing must include a
        21      certificate stating that a copy of the filing was served. Fed. R. Civ. P. 5(d). Also,
        22      Plaintiff must submit an additional copy of every filing for use by the Court. See LRCiv
        23      5.4. Failure to comply may result in the filing being stricken without further notice to
        24      Plaintiff.
        25             D.     Possible Dismissal
        26             If Plaintiff fails to timely comply with every provision of this Order, including
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        28                 Plaintiff alleges that he receives Cardura, Lisinopril, Amlodipine, and Clonipin,
                which, according to information available at https://medlineplus.gov/druginfo/meds, are
                used to treat high blood pressure (last visited May 25, 2018).

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            1   these warnings, the Court may dismiss this action without further notice. See Ferdik v.
            2   Bonzelet, 963 F.2d 1258, 1260-61 (9th Cir. 1992) (a district court may dismiss an action
            3   for failure to comply with any order of the Court).If Plaintiff is released while this case
            4   remains pending, and the filing fee has not been paid in full, Plaintiff must, within 30
            5   days of his release, either (1) notify the Court that he intends to pay the unpaid balance of
            6   his filing fee within 120 days of his release or (2) file a non-prisoner application to
            7   proceed in forma pauperis. Failure to comply may result in dismissal of this action.
            8   IT IS ORDERED:
            9            (1)   Plaintiff’s Application to Proceed In Forma Pauperis (Doc. 3) is granted.
        10               (2)   As required by the accompanying Order to the appropriate government
        11      agency, Plaintiff must pay the $350.00 filing fee and is not assessed an initial partial
        12      filing fee.
        13               (3)   Counts I (in part), II, IV, V, VI, X, and XI are dismissed with prejudice
        14      from this case as duplicative.
        15               (4)   Counts I (in part), III (in part), VII, and VIII of the Complaint (Doc. 1) are
        16      dismissed for failure to state a claim without prejudice and with leave to amend.
        17               (5)   Every Defendant except Defendants Osler, Schletter, Moreno, and Ramos
        18      is dismissed without prejudice.
        19               (6)   Defendants Osler, Schletter, Moreno, and Ramos must answer Count III (in
        20      part).
        21               (7)   The Clerk of Court must send Plaintiff a service packet including the
        22      Complaint (Doc. 1), this Order, and both summons and request for waiver forms for
        23      Defendants Osler, Schletter, Moreno, and Ramos.
        24               (8)   Plaintiff must complete18 and return the service packet to the Clerk of Court
        25      within 21 days of the date of filing of this Order. The United States Marshal will not
        26
                         18
        27                If a Defendant is an officer or employee of the Arizona Department of
                Corrections, Plaintiff must list the address of the specific institution where the officer or
        28      employee works. Service cannot be effected on an officer or employee at the Central
                Office of the Arizona Department of Corrections unless the officer or employee works
                there.

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            1   provide service of process if Plaintiff fails to comply with this Order.
            2            (9)      If Plaintiff does not either obtain a waiver of service of the summons or
            3   complete service of the Summons and Complaint on a Defendant within 90 days of the
            4   filing of the Complaint or within 60 days of the filing of this Order, whichever is later,
            5   the action may be dismissed as to each Defendant not served. Fed. R. Civ. P. 4(m);
            6   LRCiv 16.2(b)(2)(B)(ii).
            7            (10)     The United States Marshal must retain the Summons, a copy of the
            8   Complaint, and a copy of this Order for future use.
            9            (11)     The United States Marshal must notify Defendants of the commencement
        10      of this action and request waiver of service of the summons pursuant to Rule 4(d) of the
        11      Federal Rules of Civil Procedure. The notice to Defendants must include a copy of this
        12      Order.     The Marshal must immediately file signed waivers of service of the
        13      summons. If a waiver of service of summons is returned as undeliverable or is not
        14      returned by a Defendant within 30 days from the date the request for waiver was
        15      sent by the Marshal, the Marshal must:
        16                        (a)   personally serve copies of the Summons, Complaint, and this Order
        17               upon Defendant pursuant to Rule 4(e)(2) of the Federal Rules of Civil Procedure;
        18               and
        19                        (b)   within 10 days after personal service is effected, file the return of
        20               service for Defendant, along with evidence of the attempt to secure a waiver of
        21               service of the summons and of the costs subsequently incurred in effecting service
        22               upon Defendant. The costs of service must be enumerated on the return of service
        23               form (USM-285) and must include the costs incurred by the Marshal for
        24               photocopying additional copies of the Summons, Complaint, or this Order and for
        25               preparing new process receipt and return forms (USM-285), if required. Costs of
        26               service will be taxed against the personally served Defendant pursuant to Rule
        27               4(d)(2) of the Federal Rules of Civil Procedure, unless otherwise ordered by the
        28               Court.



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            1          (12)      A Defendant who agrees to waive service of the Summons and
            2   Complaint must return the signed waiver forms to the United States Marshal, not
            3   the Plaintiff.
            4          (13)      Defendants must answer the Complaint or otherwise respond by
            5   appropriate motion within the time provided by the applicable provisions of Rule 12(a) of
            6   the Federal Rules of Civil Procedure.
            7          (14)      Any answer or response must state the specific Defendant by name on
            8   whose behalf it is filed. The Court may strike any answer, response, or other motion or
            9   paper that does not identify the specific Defendant by name on whose behalf it is filed.
        10             (15)      Plaintiff’s motion for injunctive relief (Doc. 2) is denied.
        11             Dated this 12th day of June, 2018.
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